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 Fill in this information to identify your case:

 Debtor 1                 Jearld T Immler
                          First Name                        Middle Name               Last Name

 Debtor 2                 Jennifer A Immler
 (Spouse if, filing)      First Name                        Middle Name               Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND

 Case number
 (if known)                                                                                                                  Check if this is an
                                                                                                                             amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         AmeriCredit/GM Financial                              Surrender the property.                        No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a           Yes
    Description of       Automobile                                          Reaffirmation Agreement.
    property                                                                 Retain the property and [explain]:
    securing debt:                                                          Take Chances


    Creditor's         Asset Management                                      Surrender the property.                        No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a           Yes
    Description of 2760 Overlook Ct. Manchester,                             Reaffirmation Agreement.
    property       MD 21102 Carroll County                                   Retain the property and [explain]:
    securing debt: Split Foyer Home                                         Take Chances


    Creditor's         GM Financial                                          Surrender the property.                        No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a           Yes
    Description of       2013 Nissan Rouge 110000                            Reaffirmation Agreement.
                         miles
                         Location: 2760 Overlook Ct.,

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 Debtor 1       Jearld T Immler
 Debtor 2       Jennifer A Immler                                                                     Case number (if known)


     property           Manchester MD 21102                                 Retain the property and [explain]:
     securing debt:                                                       Take Chances


     Creditor's    Seterus, Inc.                                            Surrender the property.                                     No
     name:                                                                  Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
     Description of 2760 Overlook Ct. Manchester,                           Reaffirmation Agreement.
     property       MD 21102 Carroll County                                 Retain the property and [explain]:
     securing debt: Split Foyer Home                                      Take Chances


     Creditor's    Wells Fargo Dealer Services                              Surrender the property.                                     No
     name:                                                                  Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
     Description of 2009 Nissan Murano 160000                               Reaffirmation Agreement.
     property       miles                                                   Retain the property and [explain]:
     securing debt: Location: 2760 Overlook Ct.,
                    Manchester MD 21102                                   Take Chances

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:               Consumer Cellular                                                                                   No

                                                                                                                                  Yes

 Description of leased        Cell Phone
 Property:



 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Jearld T Immler                                                          X /s/ Jennifer A Immler
       Jearld T Immler                                                                  Jennifer A Immler
       Signature of Debtor 1                                                            Signature of Debtor 2

       Date        February 12, 2019                                                Date     February 12, 2019




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